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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION                                            fl   9 5
                                                          -                               .:,
  UNITED STATES OF AMERICA,                      CRIMINAL NO.

             Plaintiff,                                   SUPERSEDING
                                                          INDICTMENT
                                                                                          1u
   V.                                           CTS   1-23: 18 U.S.C.   249(a)(2)
                                                Hate Crime Resulting in Death;
                                                CTS 24-46: 18 U.S.C. § 924(c), (j)(1)
  PATRICK WOOD CRUSIUS,                         Use of a Firearm to Commit Murder During
                                                and In Relation to a Crime of Violence;
             Defendant.                         CTS 47-68: 18 U.S.C. § 249(a)(2)
                                                Hate Crime Involving Attempt to Kill;
                                                CTS 69-90: 18 U.S.C. § 924(c)
                                                Use of a Firearm During and In Relation to
                                                a Crime of Violence.

                                                Notice of Special Findings

                                                Notice of     ovërnment's Demand for
                                                Forfeiture


        THE GRAND JURY CHARGES:

                                      INTRODUCTION

        1.         On or about June 19, 2019, Defendant PATRICK WOOD CRUSIUS used the

internet to purchase a GP WASR-10 semi-automatic rifle with serial number A1-65552-18, a

Romanian-made firearm that is a variant of the AK-47 assault rifle. Also on or about June 19,

2019, Defendant PATRICK WOOD CRUSIUS used the internet to purchase 1,000 rounds of 7.62

x 39 millimeter hollow point ammunition.

        2.        Some time before August 3, 2019, Defendant PATRICK WOOD CRUSIUS drafted

a document with the title "The Inconvenient Truth." The document opens by stating, "This attack
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is a response to the Hispanic invasion     of Texas. They are the instigators, not me.   I am   simply

defending my country from cultural and ethnic replacement brought on by the invasion."

        3.       On or about August 3, 2019, Defendant PATRICK WOOD CRUSIUS drove a

vehicle overnight from Allen, Texas, to the Walmart Supercenter store located at 7101 Gateway

West Boulevard in El Paso, Texas. Defendant PATRICK WOOD CRUSIUS traveled with the GP

WASR-10 semi-automatic rifle and 7.62 x 39 millimeter hollow point ammunition that he had

previously purchased.

        4.      On or about August 3, 2019, Defendant PATRICK WOOD CRUSIUS uploaded

the document he had drafted entitled "The Inconvenient Truth" onto the internet.

        5.      On or about August 3, 2019, after uploading the document entitled "The

Inconvenient Truth" to the internet, Defendant PATRICK WOOD CRUSIUS opened fire and shot

multiple individuals in and around the Walmart Supercenter store located at 7101 Gateway West

Boulevard in El Paso, Texas. Defendant PATRICK WOOD CRUSIUS used his GP WASR-10

semi-automatic rifle and 7.62 x 39 millimeter hollow point ammunition to conduct the attack,

which led to the death of twenty-three individuals and injured many more.

                        COUNTS ONE THROUGH TWENTY-THREE
                    (18 U.S.C. § 249(a)(2) - Hate Crime Resulting in Death)

       Paragraphs numbered     1   through 5 previously alleged in this indictment are re-alleged and

incorporated as though fully set forth herein.

       6.       On or about August 3,2019, in the Western District of Texas, Defendant PATRICK

WOOD CRUSIUS willfully caused bodily injury to the victims listed below because of the actual

and perceived national origin of any person:

                              COUNT                  VICTIM
                                    1                  A.A.
                                    2                  J.A.
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                                     3                  A.B.
                                     4                 J.C.G.
                                     5                   L.C.
                                     6                  A.E.
                                     7                  M.F.
                                     8                   R.F.
                                     9                 G.G.S.
                                    10                A.C.H.
                                    11                  A.H.
                                    12                   D.J.
                                    13                 L.A.J.
                                    14                M.L.R.
                                    15                M.L.H.
                                    16                 I.F.M.
                                    17                G.I.M.
                                    18                E.M.M.
                                    19                  M.R.
                                    20                S.R.M.
                                    21                 J.A.R.
                                    22                  T.S.
                                    23                  J.V.

and, in connection with each of the offenses in Counts One through Twenty-Three, the Defendant

employed a firearm that had traveled in interstate and foreign commerce, and the Defendant used

a channel, facility, and instrumentality of interstate and foreign commerce, and the Defendant's

conduct interfered with commercial and other economic activity in which the victims listed above

were engaged at the time of the offense. The offense resulted in the death of the victim.

       All in violation of Title 18, United States Code, Section 249(a)(2)(A)(ii)(I).

                  COUNTS TWENTY-FOUR THROUGH FORTY-SIX
                      (18 U.S.C. § 924(c), (j)(1) - Use of a Firearm to
               Commit Murder During and In Relation to a Crime of Violence)

       Paragraphs numbered     1   through 5 previously alleged in this indictment are re-alleged and

incorporated as though fully set forth herein.
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       7.       On or about August 3, 2019, in the Western District of Texas, Defendant PATRICK

WOOD CRUSIUS knowingly used, carried, brandished, and discharged a firearm, namely, a GP

WASR-10 semi-automatic rifle with serial number A1-65552-18, during and in relation to a crime

of violence for which he may be prosecuted in a court of the United States, namely, the offenses

charged in Counts One through Twenty-Three; and caused the death of each victim listed below

through the use of a firearm in such a manner as to constitute murder as defined by Title 18, United

States Code, Section 1111, in that the Defendant, with malice aforethought, unlawfully killed each

victim with the firearm.

                              COUNT                 VICTIM
                                 24                  A.A.
                                 25                  J.A.
                                 26                  A.B.
                                 27                 J.C.G.
                                 28                  L.C.
                                 29                  A.E.
                                 30                  M.F.
                                 31                  R.F.
                                 32                 G.G.S.
                                 33                 A.C.H.
                                 34                  A.H.
                                 35                  D.J.
                                 36                 L.A.J.
                                 37                 M.L.R.
                                 38                 M.L.H.
                                 39                 I.F.M.
                                 40                 G.LM.
                                 41                 E.M.M.
                                 42                  M.R.
                                 43                 S.R.M.
                                 44                 J.A.R.
                                 45                  T.S.
                                 46                   J.V.



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       All in violation of Title 18, United States Code, Sections 924(c) and 924(j)(1).

                   COUNTS FORTY-SEVEN THROUGH SIXTY-EIGHT
                (18 U.S.C. § 249(a)(2) - Hate Crime Involving Attempt to Kill)

       Paragraphs numbered     1   through   5   previously alleged in this indictment are re-alleged and

incorporated as though fully set forth herein.

       8.       On or about August 3, 2019, in the Western District of Texas, Defendant PATRICK

WOOD CRUSIUS willfully caused bodily injury to the victims listed below because of the actual

and perceived national origin of any person:

                              COUNT                        VICTIM
                                   47                     P.G.A.
                                   48                     M.A.P.
                                   49                      E.A.
                                   50                     J.A.A.
                                   51                      R.B.
                                   52                    M.A.P.B.
                                   53                      R.C.
                                   54                      L.C.
                                   55                   M.D.A.M.
                                   56                   E.G.D.A.R.
                                   57                   A.E.D.L.R.
                                   58                       J.G.
                                   59                   M.M.G.G.
                                   60                     M.E.G.
                                   61                     E.C.G.
                                   62                      M.J.
                                   63                     M.S.L.
                                   64                     O.R.L.
                                   65                     O.R.M.
                                   66                    N.E.M.Z.
                                   67                     L.M.P.
                                   68                      R.V.

and, in connection with each of the offenses in Counts Forty-Seven through Sixty-Eight, the

Defendant employed a firearm that had traveled in interstate and foreign commerce, and the

                                                       5
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Defendant used a channel, facility, and instrumentality of interstate and foreign commerce, and

the Defendant's conduct interfered with commercial and other economic activity in which the

victims listed above were engaged at the time of the offense. The offense included an attempt to

kill.

        All in violation of Title 18, United States Code, Section 249(a)(2)(A)(ii)(II).

                          COUNTS SIXTY-NINE THROUGH NINETY
    (18 U.S.C.   § 924(c) - Use of a Firearm During and In Relation to a Crime of Violence)

        Paragraphs numbered I through     5   previously alleged in this indictment are re-alleged and

incorporated as though fully set forth herein.

        9.       On or about August 3, 2019, in the Western District of Texas, Defendant PATRICK

WOOD CRUSIUS knowingly used, carried, brandished, and discharged a firearm, namely, a GP

WASR- 10 semi-automatic rifle with serial number A 1-65552-18, during and in relation to a crime

of violence for which he may be prosecuted in a court of the United States, namely, the offenses

charged in Counts Forty-Seven through Sixty-Eight.

                              COUNT                  VICTIM
                                 69                   P.G.A.
                                 70                   M.A.P.
                                 71                    E.A.
                                                      J.A.A.
                                 73                    R.B.
                                 74                  M.A.P.B.
                                 75                    R.C.
                                 76                    L.C.
                                 77                 M.D.A.M.
                                 78                 E.G.D.A.R.
                                 79                 A.E.D.L.R.
                                 80                    J.G.
                                 81                 M.M.G.G.
                                 82                   M.E.G.
                                 83                   E.C.G.
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                                    84                      M.J.
                                    85                     M.S.L.
                                    86                     O.R.L.
                                    87                     O.R.M.
                                    88                    N.E.M.Z.
                                    89                     L.M.P.
                                   90                       R.V.

     All in violation of Title 18, United States Code, Section 924(c).

                 NOTICE OF SPECIAL FINDINGS PURSUANT TO
            TITLE 18, UNITED STATES CODE. SECTIONS 3591 AND 3592

THE GRAND JURY FINDS:

     10.          As to Counts Twenty-Four through Forty-Six, Defendant PATRICK WOOD

CRUSIUS,

             i.     was 18 years of age or older at the time of the offense;

            ii.     intentionally killed the victim (18 U.S.C.       §   359 1(a)(2)(A));

           iii.     intentionally inflicted serious bodily injury that resulted in the death of the

                    victim (18 U.S.C.     §   3591(a)(2)(B));

           iv.      intentionally participated in an act, contemplating that the life of a person would

                    be taken and intending that lethal force would be used in connection with a

                    person, other than one of the participants in the offense, and the victim died as

                    a result of the act (18 U.S.C.    §   3591(a)(2)(C));

           v.       intentionally and specifically engaged in an act of violence, knowing that the

                    act created grave risk of death to a person, other than one of the participants in

                    the offense, such that participation in the act constituted a reckless disregard for

                    human life, and the victim died as a result of the act (18 U.S.C.

                    §   3591(a)(2)(D));


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        11.    As to Counts Twenty-Four through Forty-Six, Defendant PATRICK WOOD

 CRUSIUS knowingly created a grave risk of death to one or more persons in addition to the victim

of the offense (18 U.S.C.      §   3592(c)(5));

        12.    As to Counts Twenty-Four through Forty-Six, Defendant PATRICK WOOD

CRUSIUS c mmitted the offense after substantial planning and premeditation to cause the death

of a person (18 U.S.C. § 3592(c)(9));

        13.    As to Counts Twenty-Four through Forty-Six, Defendant PATRICK WOOD

CRUSIUS intentionally killed and attempted to kill more than one person in a single criminal

episode (18 U.S.C. § 3592(c)(16));

        14.    As to Counts Twenty-Nine (A.E.), Thirty (M.F.), Thirty-One (R.F.), Thirty-Three

(A.C.H.), Thirty-Four (A.H.), Thirty-Six (L.A.J.), Forty-Three (S.R.M.), Forty-Five (T.S.), and

Forty-Six (J.V.), the victim was particularly vulnerable due to old age and infirmity (18 U.S.C.   §

3592(c)(1 1)); and

        15.    As to Count Forty-Four (J.A.R.), the victim was particularly vulnerable due to

youth (18 U.S.C.     §   3592(c)(11)).

                     NOTICE OF GOVERNMENT'S DEMAND FOR FORFEITURE

       16.     The grand jury re-alleges and incorporates by reference all allegations contained in

Counts Twenty-Four through Forty-Six, and Counts Sixty-Nine through Ninety of this indictment

for the purpose of alleging criminal forfeiture pursuant to Title 18, United States Code, Section

924(d); and Title 28, United States Code, Section 246,1(c). As part of the commission of the

violations of Title 18, United States Code, Sections 924(c) and 924(j)(1), charged in Counts

Twenty-Four through Forty-Six, and Counts Sixty-Nine through Ninety of this indictment, the

following firearms and ammunition, which were involved and used in the knowing commission of



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those offenses, are subject to forfeiture pursuant to Title 18, United States Code, Sections 924(d);

and Title 28, United States Code, Section 246 1(c):

               a) a GP WASR-1O semi-automatic rifle with serial number A1-65552-18; and

               b) any other property, to include ammunition, which was involved and used in the

                   knowing commission of the offenses specified above.



                                              A TRUE BILL.
                                                         ORIGiNAL SIGNATURE
                                                      REDACTED PURSUANT TO
                                                       ''     rp4r ACT OF 2002
                                              FOREPERSON OF THE GRAND JURY




JOHN F. BASH
UNITED STATES ATTORNEY


ERIC S. DREIBAND
ASSISTANT ATTORNEY GENERAL
CIVIL RIGHTS DIVISION




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